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                     IN THE UNITED STATES DISTRICTCOURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               ALBANY DIVISION

DEBORAH LAUFER,                               :
                                              :
       Plaintiff,                             :
                                              :
v.                                            :      CASE NO.: 1:20-CV-59 (LAG)
                                              :
HJL HOSPITALITY, LLC.,                        :
                                              :
       Defendant.                             :
                                              :

                                         ORDER
       Before the Court is Plaintiff Deborah Laufer’s Motion to Stay Pending Appellate
Ruling (Motion) (Doc. 22). Therein, Plaintiff asks the Court to stay the case pending
disposition by the Eleventh Circuit in the appeals of Laufer v. Arpan, LLC, 20-14846 or
Kennedy v. Warrior Air, Inc., 20-11545. (Id. at 1). In its previous Order, the Court denied
Plaintiff’s Motion for Default Judgment, but allowed Plaintiff to brief the narrow issue of
whether Plaintiff has standing to bring suit. (Doc. 17). This precise issue is on appeal to
the Eleventh Circuit in the above referenced appellate actions. (Doc. 22 ¶ 3). For good
cause shown, the Motion is GRANTED. This case is STAYED until an opinion of the
Eleventh Circuit in Arpan, 20-14846 or Warrior Air, 20-11545. Plaintiff shall notify the
Court within 30 days of an opinion by the Eleventh Circuit in either of the above referenced
appellate actions.

       SO ORDERED, this 20th day of May, 2021.

                                           /s/ Leslie A. Gardner
                                           LESLIE A. GARDNER, JUDGE
                                           UNITED STATES DISTRICT COURT
